         Case 22-40503          Doc 99 Filed 06/07/22 Entered 06/07/22 14:22:25                    Desc BK
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Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


Eastern District of Texas

Suite 300B
660 North Central Expressway
Plano, TX 75074

                                       Bankruptcy Proceeding No.: 22−40503
                                                   Chapter: 11
                                            Judge: Brenda T. Rhoades

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Service One, LLC
   4801 Keller Springs Road
   Addison, TX 75001
Social Security / Individual Taxpayer ID No.:

Employer Tax ID / Other nos.:
  38−4097396

PLEASE TAKE NOTICE that a hearing will be held at

Plano Bankruptcy Courtroom, 660 N. Central Expressway, Third Floor, Plano, TX 75074

on 6/21/22 at 01:30 PM

to consider and act upon the following:

Hearing Set (RE: related document(s)96 Motion to Pay Pre−Petition Claims Trustee's Emergency Motion for
Authority to Pay Arbor Contract Carpet, Inc. in Satisfaction of Mechanic Liens Filed by Mark A WEISBART (SBRA
V) (Attachments: # 1 Proposed Order) filed by Trustee Mark A WEISBART (SBRA V)). Hearing scheduled for
6/21/2022 at 01:30 PM at Plano Bankruptcy Courtroom. (ym)

Dated: 6/7/22

                                                            Jason K. McDonald
                                                            Clerk, U.S. Bankruptcy Court
